
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 96-1473

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                  MICHAEL P. FOSHER,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                              Cyr, Senior Circuit Judge,
                                   ____________________

                              and Stahl, Circuit Judge.
                                         _____________

                                _____________________

               George F.  Gormley, by appointment  of the court,  with whom
               __________________
          John D. Colucci  and Gormley  &amp; Colucci, P.C.  were on  brief for
          _______________      ________________________
          appellant.
               Alexandra Leake, Assistant United States Attorney, with whom
               _______________
          Donald  K.  Stern,  United  States  Attorney,  was on  brief  for
          _________________
          appellee.



                                 ____________________

                                   August 27, 1997
                                 ____________________

















                    TORRUELLA,  Chief Judge.   On July 6,  1995, Defendant-
                    TORRUELLA,  Chief Judge.
                                ___________

          Appellant Michael P. Fosher ("Fosher") pled guilty to four counts

          of an indictment, which charged him with racketeering conspiracy,

          in violation of 18 U.S.C.    1962(d), racketeering, in  violation

          of  18  U.S.C.    1962(c),  interstate  transportation  of stolen

          property, in  violation of 18  U.S.C.   2314, and  conspiracy, in

          violation of  18 U.S.C.   371.  On  March 5, 1996, the sentencing

          court  imposed  upward  adjustments for  an  unusually vulnerable

          victim and for Fosher's  role in the offense.   The court further

          determined  that Fosher's armed bank robbery conviction under the

          Federal Youth Corrections Act, 18 U.S.C.   5005 et seq. ("FYCA"),
                                                          _______

          previously set aside  pursuant to that Act, was properly included

          in the Criminal History Category calculation.  The district court

          calculated Fosher's  Total Offense Level  at 33 and  his Criminal

          History  Category at  III, resulting  in  a guideline  sentencing

          range of 168  to 210 months.   The government requested that,  in

          light  of  Fosher's  substantial assistance,  the  court  grant a

          downward departure under   5K1.1  and impose a 60 month sentence.

          The court granted the government's downward departure motion, and

          sentenced Fosher to 78 months' imprisonment.  Fosher  appeals his

          sentence, arguing that  the district court  erred in its  rulings

          regarding  the unusually vulnerable  victim and  the role  in the

          offense  adjustments,  as  well  as  its  inclusion  in  Fosher's

          Criminal History Category  of his set-aside conviction  under the

          FYCA.  For the reasons set forth herein, we reverse and remand in

          part and affirm in part.


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                                      BACKGROUND
                                      BACKGROUND

                    In  presenting the  facts, we  consult the  uncontested

          portions  of  the  Presentence  Report ("PSR"),  as  well  as the

          sentencing hearing transcript.  United States v. Lagasse, 87 F.3d
                                          _____________    _______

          18, 20 (1st Cir. 1996).

                    In December 1991, Fosher called Michael Chinn ("Chinn")

          from Florida and told Chinn that he would  pay Chinn's airfare to

          Florida so  that they could  do "something big."   Chinn flew  to

          Fort  Lauderdale with  Anthony  Corso  ("Corso").    The  airline

          tickets for  both were  purchased by Fosher.   Chinn  stayed with

          Fosher, while Corso  stayed with his father, Philip  Corso.  Upon

          arrival  in Fort  Lauderdale, Chinn  and  Corso were  taken by  a

          friend of Philip  Corso to a  restaurant to meet  Fosher and  Joe

          Bomengo  ("Bomengo").   During  lunch, Fosher  told them  about a

          house he had targeted  for a home invasion.  Donald  Marks Schoff

          ("Schoff") had told  Fosher that the house  contained $500,000 in

          gold coins and a five carat diamond ring and was occupied by a 62

          year old  woman, her daughter  and granddaughter.   Fosher stated

          that he  wanted Chinn  and Corso  to  enter the  house, while  he

          waited outside  in a  van and  Schoff waited  at the  end of  the

          street listening to a police  scanner.  They also discussed using

          weapons  and   Fosher  unsuccessfully  sought  weapons   from  an

          acquaintance he ran into in the restaurant.

                    Thereafter, Fosher,  Chinn, Corso, Bomengo,  and Schoff

          met Philip  Corso at Corso's  house.  Schoff described  where the


                                         -3-














          money was kept.  The  participants looked at some guns  at Philip

          Corso's  house and  wanted  to  borrow the  guns.   Philip  Corso

          declined to let  the group use  the guns because  the guns  "were

          hardly needed  since the  victim was  an older  woman."   At  the

          meeting,  Bomengo suggested that the participants pose as florist

          delivery  men.   Fosher determined  that  he would  rent a  white

          minivan to  resemble  a  florist  delivery  truck.    During  the

          discussion,  Fosher  made  decisions and  assigned  roles  to the

          participants.

                    On  the  morning  of January  8,  1992,  Fosher, Chinn,

          Corso, and Schoff executed the home invasion.  Fosher, Chinn, and

          Corso  drove to  the  victim's  house in  the  van, while  Schoff

          followed in a second car.  On the way to the victim's house, they

          purchased a floral arrangement and  gloves and "ties" to bind the

          victims.    Corso and  Chinn  went  to the  front  door with  the

          flowers.  When the victim came to the door, they entered.   Corso

          asked her  for  the keys  to the  floor safe  in  the garage  and

          attempted to open it.   Fosher and Schoff  entered the garage  to

          help him.   Upon opening the safe, they  discovered only $500,000

          worth  of gold coins.   They approached the  victim and asked her

          where the other safe  and the five carat diamond ring  were.  The

          men  took the  victim to  her  jewelry lockbox  and took  jewelry

          valued at $23,000.   When they were  unable to find a  five carat

          diamond, Fosher told Chinn, within the hearing of the victim, "if

          she doesn't tell you where the other safe is, shoot her."   Chinn

          told the victim that he would not let them hurt her.


                                         -4-














                    When they  left the  victim's house,  the four  went to

          Fosher's condominium, where they divided the coins.   Fosher made

          Corso throw away the jewelry for fear that it might allow someone

          to  identify them.   Corso left  Florida soon  thereafter, taking

          $80,000 in coins with him  to Massachusetts.  Chinn also returned

          to  Massachusetts, carrying cash  received from Fosher  after the

          coins had been melted down.

                    On May 11,  1995, a federal grand jury  returned a five

          count indictment against Fosher and Corso.  On  June  27,   1995,

          Fosher executed a plea and  cooperation agreement with the United

          States Attorney's Office, agreeing to plead guilty to four counts

          of the indictment.1   The agreement provided that, at sentencing,

          the  government would take  the position under  the United States

          Sentencing Guidelines  ("U.S.S.G.") that  Fosher's offense  level

          was 33, for which the guideline  sentencing range was 135 to  168

          months.   The  agreement  noted  that  Fosher  objected  to  this

          calculation and reserved  the right to argue for  a lower offense

          level.    Fosher agreed  to  cooperate with  the  government and,

          assuming  he provided substantial  assistance, the  U.S. Attorney

          agreed to file a motion for a two level downward adjustment under

          U.S.S.G.   5K1.1.

                    On July  6,  1995, Fosher  pled  guilty to  Counts  One

          through  Four.   At his  March 5,  1996, sentencing  hearing, the

          probation department presented  its PSR, in which  the department

                              
          ____________________

          1   The United States  Attorney's Office agreed to  dismissed the
          fifth count.

                                         -5-














          concluded  that the  four  counts  constituted  seven  groups  of

          offenses.    The  probation department  calculated  the  Adjusted

          Offense Level  for  each  group and  determined  that  the  group

          relating to  an  invasion and  robbery,  executed by  Fosher  and

          others, of the  home of a 62  year old Fort Lauderdale  woman had

          the highest Adjusted  Offense Level at 33.   This included a two-

          level  upward adjustment for an unusually vulnerable victim under

          U.S.S.G.   3A1.12 and a four-level  upward adjustment for being a

          leader or organizer of five or more participants under U.S.S.G.  

          3B1.1.3  After applying the grouping rules under U.S.S.G.   3D1.4

          and  providing  for  a  downward  adjustment  for  acceptance  of

          responsibility, the probation department  concluded that Fosher's

          Total Offense Level was 33.

                    The  probation   department  concluded   that  Fosher's

          Criminal History Category was III, including in the calculation a

          conviction for armed bank robbery under the FYCA.


                              
          ____________________

          2  Section 3A1.1(b) provides in relevant part:

                    If the  defendant knew  or should  have known
                    that a  victim of the  offense was  unusually
                    vulnerable  due to  age,  physical or  mental
                    condition, . . . increase by 2 levels.

          3  Section 3B1.1(a) provides in relevant part:

                    Based on the defendant's role in the offense,
                    increase the offense level as follows:

                    (a)  If the  defendant was  an organizer
                         or  leader of  a criminal  activity
                         that   involved   five    or   more
                         participants   or   was   otherwise
                         extensive, increase by 4 levels.

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                    On  February 26, 1996,  Fosher filed objections  to the

          upward adjustments  in calculation of  the offense level  for the

          Fort Lauderdale  home invasion and  to the inclusion of  his FYCA

          conviction  in the  Criminal History  Category  calculation.   He

          argued that  the FYCA conviction should not be considered because

          it  had been "set  aside" pursuant to  the FYCA on  September 24,

          1982.

                    At the  sentencing hearing,  the district court  agreed

          with the findings  in the PSR and imposed  upward adjustments for

          an  unusually vulnerable  victim  and for  Fosher's  role in  the

          offense.    The  court  further  determined  that  Fosher's  FYCA

          conviction was properly included in the Criminal History Category

          calculation.  The  district court, therefore, set  Fosher's Total

          Offense Level  at 33  and his Criminal  History Category  at III,

          resulting in a  guideline sentencing range of 168  to 210 months.

          The  government submitted a  motion requesting that,  in light of

          Fosher's  substantial  assistance,  the court  grant  a  downward

          departure and impose a 60-month  sentence.  The court allowed the

          government's    5K1.1 downward  departure  motion, but  sentenced

          Fosher to 78 months' imprisonment.

                                      DISCUSSION
                                      DISCUSSION

          I.  Unusually vulnerable victim
          I.  Unusually vulnerable victim

                    The  government insists that  the issue of  whether the

          victim  of the  Fort  Lauderdale  home  invasion  was  "unusually

          vulnerable" is a factual issue and therefore that the clear error

          standard applies.  Fosher argues  vigorously that the facts being


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          undisputed, the  only question  presented is a  legal one  of the

          sentencing  court's application of  the guidelines to  the facts,

          requiring de  novo review.    "[Q]uestions .  . .  of the  proper
                    ________

          application of  a legal  standard to undisputed  facts . .  . are

          usually called 'mixed questions' of fact and law."  United States
                                                              _____________

          v. Wright,  973 F.2d 437, 442  (1st Cir. 1989).  As  our cases in
             ______

          this   context  amply  demonstrate,  such  issues  of  sentencing

          application  are   often  difficult   to  pigeonhole  as   either

          predominantly factual  or legal.    See, e.g.,  United States  v.
                                              ___  ____   _____________

          Newman,  982 F.2d  665, 671  (1st  Cir. 1992);  United States  v.
          ______                                          _____________

          Pilgrim Market  Corp., 944  F.2d 14, 16  (1st Cir.  1991); United
          _____________________                                      ______

          States v. Cousens,  942 F.2d 800, 805-07 (1st  Cir. 1991); United
          ______    _______                                          ______

          States v.  Rule Indus., 878  F.2d 535,  542 n.7 (1st  Cir. 1989).
          ______     ___________

          Because we  remand the unusually  vulnerable victim issue  to the

          district  court  we need  not  decide the  difficult  standard of

          review question.

                    Section 3A1.1(b) of the Sentencing Guidelines calls for

          a two level upward enhancement

                    [i]f the defendant knew or should  have known
                    that a  victim of  the offense  was unusually
                    vulnerable  due to  age,  physical or  mental
                    condition,  or that  a  victim was  otherwise
                    particularly  susceptible  to   the  criminal
                    conduct.

          We  have recognized that  this guideline "is  primarily concerned

          with the impaired capacity of the victim to detect or prevent the

          crime, rather than the quantity  of harm suffered by the victim."

          United States v.  Gill, 99 F.3d  484, 486 (1st  Cir. 1996).   The
          _____________     ____

          question is  whether  "'a particular  victim was  less likely  to

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          thwart the crime, rather than  more likely to suffer harm  if the

          crime is  successful.'"  Id.  (quoting United States v.  Kaye, 23
                                   ___           _____________     ____

          F.3d 50, 54 (2d Cir. 1994)).

                    We have discouraged  sentencing courts  from making  an

          "unusually  vulnerable  victim"  finding  based  solely   on  the

          victim's membership  in a particular  class.  Id. at  487; United
                                                        ___          ______

          States v. Feldman, 83 F.3d 9, 15 (1st Cir. 1996) ("[I]n  order to
          ______    _______

          warrant a  finding of unusual  vulnerability, there must  be some

          evidence, above and beyond mere membership in a large class, that

          the  victim possessed  a  special  weakness  that  the  defendant

          exploited.").  At the same time, we have recognized  that in some

          cases   inferences  to  be   drawn  regarding   particular  class

          characteristics may be so strong  that "there can be little doubt

          about unusual vulnerability  of class members within  the meaning

          of  section  3A1.1."   Gill,  99  F.3d at  487.   The  Sentencing
                                 ____

          Commission recognized this when it  used as an example under this

          section the  robbery of  someone confined to  a wheelchair.   See
                                                                        ___

          U.S.S.G.   3A1.1 comment. n.2; see also Gill, 99 F.3d at 487.
                                         ________ ____

                    We  are concerned with the application of section 3A1.1

          in  the context  of  this case.    The PSR  revealed  that Fosher

          surveyed the victim's home and determined that it was occupied by

          an  elderly woman,  her  daughter,  and  her  daughter's  infant.

          Following this surveillance, the perpetrators declined the use of

          weapons to commit the robbery.  Based on the victim's age and the

          perpetrators' decision  that  the use  of  weapons would  not  be

          necessary,  the  district  court concluded  that  Fosher  knew or


                                         -9-














          should  have  known that  the  victim  in  this case  would  have

          "impaired capacity" to prevent the  entry into and robbery of her

          home.  From  our review of  the record, it  appears the  district

          court failed to address the "individual characteristics" required

          to  support a  finding  that a  particular  victim was  unusually

          vulnerable.    Because of  this conclusion,  we must  remand this

          issue to the district court for its consideration.








































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          II.  Role in the offense
          II.  Role in the offense

                    We  review a  district  court's  role  in  the  offense

          determinations  for clear error.   See United States v. D'Andrea,
                                             ___ _____________    ________

          107 F.3d  949, 956 (1st Cir. 1997).   A court making a four-level

          role-in-the-offense  adjustment under  U.S.S.G. section  3B1.1(a)

          must  first  determine   "whether  the  defendant  acted   as  an

          organizer/leader of  a specific  criminal activity.   If so,  the

          court  asks  the  separate  question  of  whether  that  criminal

          activity  involved  five  or more  participants,  defined  in the

          Commentary as  persons who  are 'criminally  responsible for  the

          commission of the  offense . . .  .'"  United States  v. Preakos,
                                                 _____________     _______

          907  F.2d  7, 10  (1st  Cir.  1990)  (quoting U.S.S.G.     3B1.1,

          Commentary).  In determining a  defendant's role in the  offense,

          the  sentencing   court  need  not  look  only  to  the  elements

          underlying the conviction,  but may  consider "the  whole of  the

          defendant's relevant conduct."  United States v. Savoie, 985 F.2d
                                          _____________    ______

          612, 615 (1st  Cir. 1993); see also U.S.S.G. Ch. 3, Pt. B, intro.
                                     ________

          comment.  Fosher does not challenge the sentencing court's status

          determination.   His  argument focuses  on  whether the  district

          court  properly found five participants in  the home invasion and

          robbery.

                    The commentary defines a "participant" as "a person who

          is criminally  responsible for the commission of the offense, but

          need not  have been convicted."   U.S.S.G.   3B1.1  comment. app.

          n.1.  Fosher concedes that there were four criminally responsible

          participants:  him, Chinn, Corso,  and Schoff.  At the sentencing


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          hearing, the government argued that both Philip Corso and Bomengo

          were criminally responsible participants even though they did not

          actually participate in  the robbery.  We need  only confirm that

          one  of them was  a criminally responsible  participant to affirm

          the   district  court's  upward   adjustment.     Philip  Corso's

          assistance  in devising the perpetrator's scheme is sufficient to

          find  that  he  is  a  participant  within  the  meaning  of  the

          guidelines.   Philip  Corso  assisted  Schoff  in  targeting  the

          victim's home for the commission of this robbery, he provided the

          home in which the planning meeting took place, he participated in

          the planning meeting with the four robbery perpetrators,  and, in

          response to  the perpetrators'  discussion regarding  the use  of

          weapons, he  advised  against the  necessity of  weapons to  gain

          entry into the victim's home.  Such acts were sufficient  to find

          Philip  Corso to  be  a  participant in  the  commission of  this

          robbery.  We therefore find no error in the district court's role

          in the offense determination.

          III.  Criminal History Category
          III.  Criminal History Category

                    In 1977,  Fosher was  convicted of  armed bank  robbery

          under the Federal Youth Corrections Act, 18 U.S.C.   5005 et seq.
                                                                    _______

          (repealed  1984).  In  1982,  pursuant  to  the  Act's  set-aside

          provisions,  see 18  U.S.C.    5021,  Fosher was  unconditionally
                       ___

          discharged and his conviction  was set aside.  Fosher  challenges

          the sentencing court's inclusion of his FYCA set-aside conviction

          in the calculation  of his Criminal History Category.   He claims

          that his set-aside  conviction is to be treated  as an "expunged"


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          conviction under  U.S.S.G.   4A1.2.   We have yet  to address the

          issue of whether a conviction set  aside under the FYCA should be

          counted  under the Sentencing Guidelines.4   When faced with this

          issue, a majority  of our sister circuits have ruled that an FYCA

          conviction  may properly be included in calculating a defendant's

          criminal history, see United States v. Moreno, 94 F.3d 1453 (10th
                            ___ _____________    ______

          Cir.  1996); United  States v.  Nicolace, 90  F.3d 255  (8th Cir.
                       ______________     ________

          1996); United  States v. Wacker,  72 F.3d 1453 (10th  Cir. 1996);
                 ______________    ______

          United  States v.  Levi, 45  F.3d  453 (D.C.  Cir. 1995);  United
          ______________     ____                                    ______

          States v. Ashburn, 20 F.3d 1336 (5th Cir. 1994); United States v.
          ______    _______                                _____________

          Gardner,  860 F.2d  1391  (7th  Cir. 1988),  while  only one  has
          _______

          determined   that  FYCA  convictions   are  similar  to  expunged

          convictions  and should not  be considered under  the guidelines,

          see United States v. Kammerdiener, 945 F.2d 300 (9th Cir. 1991).5
          ___ _____________    ____________
                              
          ____________________

          4   Fosher claims that two  opinions of this circuit  relating to
          the  FYCA support his  contention that his  set-aside convictions
          may not  be included in  calculating his criminal history.   Both
          opinions  are  inapposite,  as  neither  was  decided  under  the
          Sentencing Guidelines.   See United States v. Doe,  732 F.2d 229,
                                   ___ _____________    ___
          232 (1st Cir. 1984)  (ruling that FYCA does  not allow record  of
          conviction to  be destroyed  and noting that  the FYCA  set aside
          provision "prevents the fact of conviction from being used to the
          youth offender's  legal detriment");  Mestre Morera  v. INS,  462
                                                _____________     ___
          F.2d 1030, 1032  (1st Cir. 1972) (in ruling  that FYCA conviction
          may not  be used  to deport petitioner,  finding that  purpose of
          FYCA is to give  an offender "a second chance, free  of all taint
          of a conviction").

          5    Fosher also  cites  opinions  from  two other  circuits  for
          support,  but none  of those  opinions ruled that  FYCA set-aside
          convictions are not  to be counted under  the guidelines criminal
          history provisions.   See United States v. Corrado,  53 F.3d 620,
                                ___ _____________    _______
          621 n.1 (3d Cir. 1995) (noting that government conceded that FYCA
          conviction should not be counted); United States v. Doe, 980 F.2d
                                             _____________    ___
          876  (3d  Cir. 1992)  (ruling  that FYCA's  set  aside provisions
          called  for  the  actual  removal   of  any  records  related  to
          conviction); United States v. Beaulieau, 959 F.2d 375, 380-81 (2d
                       _____________    _________

                                         -13-














                    Section 4A1.2(j) provides that expunged convictions are

          not to be counted in  determining Criminal History Category.  The

          Commentary provides the following:

                    A  number   of  jurisdictions   have  various
                    procedures   pursuant   to   which   previous
                    convictions may be set aside or the defendant
                    may  be  pardoned  for reasons  unrelated  to
                    innocence or errors of law, e.g., in order to
                                                ____
                    restore civil rights or  to remove the stigma
                    associated   with   a   criminal  conviction.
                    Sentences resulting from such convictions are
                    to be counted.  However, expunged convictions
                    are not to be counted.

          U.S.S.G.   4A1.2,  comment app. note 10.   A set-aside  under the

          FYCA is  made for  "reasons unrelated to  innocence or  errors of

          law"  of the  type  that  the guidelines  contemplate  are to  be

          considered  in calculating Criminal  History.  The  FYCA, section

          5021, provided:

                    (a)  Upon the unconditional  discharge by the
                    Commission  of  a  committed  youth  offender
                    before the expiration of the maximum sentence
                    imposed  upon him,  the  conviction shall  be
                    automatically  set aside  and the  Commission
                    shall   issue  to   the   youth  offender   a
                    certificate to that effect.

                    (b)  Where  a youth offender has  been placed
                    on probation  by  the court,  the  court  may
                    thereafter,      in      its      discretion,
                    unconditionally discharge such youth offender
                    from probation prior to the expiration of the
                    maximum period of probation theretofore fixed
                    by   the   court,   which   discharge   shall
                    automatically set  aside the  conviction, and
                    the court shall issue to the youth offender a
                    certificate to that effect.


                              
          ____________________

          Cir. 1992)  (holding that  sealed record  under Vermont  juvenile
          statute   was   improperly   considered   in   criminal   history
          calculation).

                                         -14-














          18 U.S.C.    5021 (repealed).   The language of  the statute does

          not call  for expunging a  youth offender's records,  but instead

          mandates  that the youth offender  shall receive a certificate to

          the effect that  the conviction has been set aside.  A conviction

          under  the  FYCA is  set  aside  not because  of  legal  error or

          innocence, but  because the offender's  "post-offense conduct has

          persuaded the court to terminate his sentence of probation before

          the assigned  completion date."   United States v.  McDonald, 991
                                            _____________     ________

          F.2d 866, 871 (D.C. Cir. 1993) (analyzing a set-aside  conviction

          under  the  District  of  Columbia's  Youth  Rehabilitation  Act,

          analogous to the FYCA).  The  FYCA's use of the term "set  aside"

          is not  the  same  as the  Guideline's  treatment  of  "expunged"

          convictions,  but is more analogous to the Guideline's definition

          of a  "set aside" conviction,  one that is  to be counted  in the

          criminal history  calculation.   Moreover, had Congress  intended

          that all records of a youthful conviction  under the FYCA be made

          completely  unavailable  or  destroyed such  that  they  could no

          longer be considered for any future purposes, Congress could have

          specified the remedy of expungement  rather than a certificate of

          set-aside.  See United States v. Doe, 732 F.2d 229, 232 (1st Cir.
                      ___ _____________    ___

          1984)  (in affirming  district court's  refusal  to destroy  FYCA

          records, noting that ordering expungement under the statute would

          require a  rewriting of  the statute); Ashburn,  20 F.3d  at 1342
                                                 _______

          (collecting cases).

                    In  determining  the  import  of  this  provision,  the

          Supreme  Court noted  in  dicta  that the  FYCA  was intended  to


                                         -15-














          address  the   "numerous  civil  and  social  disabilities"  that

          accompany a conviction, recognizing that "a conviction may result

          in the  loss of the rights to  vote, to hold a  public office, to

          serve  on  a  jury,  and  to  practice  various  occupations  and

          professions."  Tuten v. United  States, 460 U.S. 660, 664 (1983).
                         _____    ______________

          Although the FYCA was intended  to benefit a youthful offender by

          providing  a second chance to start life  without the stigma of a

          criminal conviction, id.  ("Congress' purpose in adopting    5021
                               ___

          was to promote the rehabilitation of youth offenders by providing

          a substantial  incentive for  positive behavior  while serving  a

          sentence  under the YCA."); Webster, 606  F.2d at 1234-35 (noting
                                      _______

          that Congress  "intended to  give youthful  ex-offenders a  fresh

          start,  free from  the stain  of  a criminal  conviction, and  an

          opportunity to clean their slates to afford them a second chance,

          in terms of both jobs and standing in the community"), it was not

          meant to allow a recidivist to avoid increased penalties based on

          earlier  criminal convictions.    See Ashburn,  20  F.3d at  1343
                                            ___ _______

          ("[T]his beneficent offer  of a 'second  chance' to the  immature

          offender  should not  be available  as a  shield for  those whose

          original  encounter  with  the  criminal  world  is  used   as  a

          springboard to a life of felonious conduct."); McDonald, 991 F.2d
                                                         ________

          at 872  ("[I]f a juvenile  offender turns into a  recidivist, the

          case for conferring  the benefit dissipates.   Society's stronger

          interest is in punishing  appropriately an unrepentant criminal."

          (citations  omitted)).     Thus,  counting   an  FYCA   set-aside




                                         -16-














          conviction in calculating  a defendant's criminal history  is not

          contrary to the purposes of the FYCA.

                    Fosher further  argues that  consideration of  the FYCA

          conviction violates the ex post facto clause, U.S. Const. art. I,
                                  _____________

            9, cl. 3, because the law increases the punishment for his 1977

          armed  robbery conviction.   An ex post  facto law is  one "'that
                                          ______________

          changes the punishment,  and inflicts a greater  punishment, than

          the law  annexed to  the crime, when  committed.'"   Dominique v.
                                                               _________

          Weld,  73 F.3d  1156, 1162  (1st  Cir. 1996)  (quoting Miller  v.
          ____                                                   ______

          Florida, 482 U.S. 423, 429 (1987)).  "The concern of the  ex post
          _______                                                   _______

          facto  prohibition is to assure that  legislative acts 'give fair
          _____

          warning of their  effect and permit individuals to  rely on their

          meaning until explicitly changed.'"  United States  v. Forbes, 16
                                               _____________     ______

          F.3d 1294, 1301 (1st Cir. 1994) (quoting Miller, 482 U.S.  at 430
                                                   ______

          (1987)).  As  the Supreme Court has recognized,  a state habitual

          offender  statute, which  increased  present  penalties based  on

          prior criminal conduct, is not an ex post facto law, because  the
                                            _____________

          consideration of prior convictions imposes increased penalties to

          the  "latest  crime, which  is  considered  to be  an  aggravated

          offense because  a repetitive  one."  Gryger  v. Burke,  334 U.S.
                                                ______     _____

          728, 732 (1948), quoted in Forbes, 16 F.3d at 1302.  "Gryger thus
                           _________ ______                     ______

          recognized  the legislature's  authority  to  enact  an  enhanced

          penalty  for future  conduct preceded  by  a criminal  conviction

          obtained prior to  enactment of the enhanced  penalty provision."

          Forbes, 16 F.3d  at 1302.  The district  court's consideration of
          ______




                                         -17-














          Fosher's  FYCA  conviction  in determining  his  criminal history

          category did not violate the ex post facto clause.
                                       _____________

                                      CONCLUSION
                                      CONCLUSION

                    For the  foregoing reasons,  we reverse  and remand  in
                                                    reverse      remand
                                                    _______      ______

          part, and affirm in part.
                    affirm
                    ______












































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